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                                                                                                    IN TH E U M TED STA TES DISTR ICT C O U                                                                                     t             ,,
                                                                                                                                                                                                        ILED BY &A                                         D .c.
                                                                                                                                                     Fo R TH E
                                                                                                                 SOUTHERN DISTRICT OF FLORIDA                                                                         d0k 23 2222
                                                                                                                                                                                                                   ANGELA E.NOBLE
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                                   1953 Tnlst;EstateofDecedentJeffrey E.TEpktein,Defendan't2.è'
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                                                                                                           'FF'SSTATEMENT 6F THE CASEy r'... ''
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                                                        Before the Courtis Charlene Y .Latham ,the Plaintiff 1 in the m atter,respectfully
                                          entersthisStatementasFormalStatementoftheCaseagainstth1     eDefendants                                                                                                               .


                                        2 PlaintiffentersthisStatementofthe Case setforth inthe Cohp ll
                                         .                                                            aintforDam ages

                                                        sustained from the violent,sexualtrafficking ofthe Plaintiffay'achild victim to                                                           ?
                                                                                                                                                                                                   )
                                                        Defendant1pursuantto Florida 118525,theM ann Ad,etal. '

                                        3. Plaintiff1isa 37yearold,IndigenousRoyalwoman;formally educatedin Finance&
                                                        Economicsabusinessdeveloper,consumerproductsdesigner,ta(
                                                                                            ,                     lentedand sought
                                                        afterfinancialadvisorbusinessadvisor,V1P Host/m odelandlong-
                                                                                                                  !tim evictim of
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                                                        financial& sex crimesperpetrated forprofitby theDecedent,Jeffrey Epstein;tothe
                                                    urllawfulemichment&benefitsofthe1953Trust&otherDefed
                                                                                                       lants                                                                                                      .




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                                                          4. Tracey& DavidLatham,Plaintiffs2& 3,arethebiologicalpmtn
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                                                                                                                     tsofPlaintiff#1;
                                                          5 Plaintiff# 2 isthebiologicaldaughterofanow deceased Chiefof
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                                                                    County region ofIllinoisandbloodlineIndigenousRoyaldaughterofaParamotmt

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                                                                    defendantsandextensivenetwork oflong-term co-conspirators. .

                                                          8. Plaintiffs2 & 3,thebiologicalparentsof Plaintiff1,werethenam raland legal
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                                                                    guardiansatthetimeofthetraffickingthatarethesubjectofthijlawsuitanda11
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                                                                    related crimesincluding interstatestalking and fm ancialexploiiation asoutlined
                                                                     tlzroughoutthe civilCom plaintbroughtto recoverdam ages forthe sex abuse and
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                                                                     em otionalharm caused when theDefendantsconspired totraftk k Plaintiff1tothe

                                                                     State ofFloridatobeabused asa child prostitute.

                                                          9. Defendant 1is an active,U S G overnm entOflicial,businessm an & legalresidentof

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                                                                      jorida.




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                                                                           0.Defendant1engagedinarelationshipwiththeotherDefendanlsandDecedentwhere
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                                                                                purchasingsexualencountersresulted in Defendant1sexually albusing Plaintiff1.
                                                                      11Defendant2 istheVirgin lslandsbased TnlstEstatecontaining l
                                                                            .                                                     theentirety ofassets

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                                                                                engaged in orprovidedm aterialsupportto the Decedentand thè 1953 Trustasthe
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                                                                                Long tim e,personalin-house attorney,confidantand aide ford'
                                                                                                                                           ecades
                                                                      14Defendant4isatrusteeofthe 1953Trustisbeing sued in hiscaI
                                                                            .                                                   pacity asestate

                                                                                executorand personally asco-conspiratorin them oney laundering,sextraffk lcing

                                                                                andrelated/derivativecrimesrequired to operatethecriminalçùterprisewherehe

                                                                                engaged in orprovided m aterialsupportto the D ecedentand the 1953 Tnzstasthe
                                                                                                                                                                                                  1
                                                                                Longtim e,personalin-house accountantdecades.

                                                                       15.TheDecedent,Jeffrey E.Epstein,conspired with theotherD efendantsto target

                                                                                Plaintiff//2 to sexually abuseherandherchildren asa system aticandlong-term

                                                                                retaliation forPlaintifff/z suing Jeffrey Epstein forsexually abusing herchildren in

                                                                                the late 1980s.



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         16.TheDecedentwasarelatively closefnm ily çtfriend''who wasentrustedto transport

                  thechildrentovarioussocialfunctions;inparticularaçç
                                                                    pajamaparty''inthelate
                  1980s.

         17.Instead,theDecedenttr@ffkked.
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                  àcceleratèdhis.
                                obsessionwithPlaintiff//2andher:hildreriifltoh
                                                                             rviolept,d'édades
                  long cnmpaign ofharassm entincluding interstatç-stalking andre!peated drugged,
                  sexualassaults.

         19.TheDecedentagreedtopay themulti-million dollarsettlementtoPlaintiff //2
                  becausehefearedpublicbacklash and humiliation ifsociety waslto leam thathehad
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                  sexuallyabusedmultiplechildrenorleamedofhisextensivecjenteleofaffluentand
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                  publicly notable m en and w om en from around the w orld W ho paid him to engage in
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                  sexualactivitywiththe drugged & abducted children in the D ecei
                                                                                dent,s care.

         20.TheDecedent'sobsession with Plaintiff//2 increased ashism entally unstable

                  condition caused him to misappropriatem illionsofdollarsbelonging to Leslie                              /
                  W exnerto pay thesetllem entfrom fundsthatwereallegedly willfully entnlstedtothe
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                  Decedentin aclient-advisortypeofrelationship betw een W exnel
                                                                              r& the D ecedent.



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            21.Afterpayingthesettlement,theDecedentwasstillclosetothefymily ofPlaintiffs#1
                   & 2.

            22. W herethe Decedentwasso closely associatedthrough connectionspermanently

1                  tyinghim tothefamily ofPlaintiff#2,hisabuse ofPlaintiffs2 & 3 s co ectivç
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                   sexualabuseilttô a decàdeslong obsession ofpçrpetrating a luèrativecrim inal
                   operation involving sex trafficking and financialcrim esçom m iged againstthe)
                                                                                                 1
            ' Plaintiffs asrevenge and retaliation.                                              )
            24Beginning in the early 1990safterthe initialabusewasuncovereld and litigated,the
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                   Decedentand co-conspiratorsbeganpaying conspiratorsto actashenchmento stalk,
                   harassdrug and assistin abducting Plaintiff2 & any ofherchildr
                          ,
                                                                               len forsex abuse.
                                                                              )
            25.Plaintiffs neverinitiated,nor consented,to any sexualrelationship ofany lcind with

                   any ofthe D efendants orthe D ecedent.
            26 Plaintiffsneverinitiated orconsentedto any agreementto prostii
               .                                                            m tePlaintiff1tothe
                                                                                                     1
                   benefitoftheDecedentoranyoftheDefendants.                                         i
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            27 TheDecedentcontinued thesexualabuse ofPlaintiff#lby surre!ptitiously drugging
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                   her& Plaintiff//ztoabducteitherPlaintiff1or2(oranyofher&
                                                                          1 Plaintiff#3'sother


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               vengeml,                                                      ng& blackmailscheme.
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                                                usextraffickl                                                              l
        28.Plaintiffs1or2tandany ofherother5male& femalechildren)werepresentedas
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           worki                                                l
                                 ngprostitutesconseptingtobeusedassçxualobjectsbyth1ewealthyclientele
               who paid significtmtsum sofm oney prfavorsto iheDecçdentand hisco-conspiyators
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               sexualabpjepjretaliationforbeinjsued.previouslybutalsotoolrchestratealucrative
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               sextraffickingringinvolvingPlaintiff//2andhersix children(alllf
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               Plaintiff#3)àpecilicallvin order.
                                               toGçrecover''themillionsofdollarsstolenfrom
               W exlïerto pay the aforem entioned settlem èht.

        30.TheDecedentconspiredwith Defendants2,3,& 4to launderthèproceedsfrom the

               sex trafticking and financialcrim esinvolving thePlaintiffsin am armerthatwould

               concealthe true nature ofthe origins ofthe m oney while repaying,orattem pting to

               repay,them oney stolen from W exnerplusinterest.

        31.TheDecedentconspired with Defendants2,3,& 4to targetthe'
                                                                  Plahltiffsforfinalacial

               & businessrelated crim eswhen thePlaintiffs'security peasurepprevented them from
                                                                           l
               orchestrating the repeated,drugged,sexualassaultsthatwerethibasisofthesex
               t                                                                                                           l
               raffickingringtheyoperated.                                                                                 t
        32 Defendants3 & 4 acted intheirprofessionalcapacitiesto protec1
           .                                                           ttheDecedentand
                                                                                                                           1
               lzis estate,D efendant2,from any additionalcrim inalorcivilprosecution arising from
               theDecedent'sobsession w ith sexually abusing Plaintiff2 & anylofherchildren by

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'                                                                                       leveraging whateverresourcesthey could access,including blackm ailofthewealthy
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                                                                                        clientsofthesex trafficking ring they operated,.

                                                                      33.TheDecedentbecamé soobsessed with notonlyrepaying W exnerthem oney stolen
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                                                                                   'from him butalso with creating amassive system ofblackmailta
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                                                                       34.TheDecebentandhisco-conspiratorsfwhoinçludebutarenotlip
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                                                                                                                                liiedtobefendants '
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                                                                                        businesspeople,andtheircroniesfrom aroundtheworld speciftcallytoensnarethem
                                                                                           i                                                                                                                                                            i
                                                                                           nto being blackmailed.                                                                                                                                       l
                                                                                                                                               h
                                                                       35.During oneofmany abductionswherePlaintiff1,asaminorchild/youngteen was                                                                                                                                                                    .
                                                                                                                                               !
                                                                                        taken,againstherwilland withouttheconsentofherparents,TkeDecedent

                                                                                           explained toPlaintiff//1thathepaidthe settlementto herfamily when shewasavery
                                                                                                                                                                                                                                                    J
                                                                                           smallchildbecauseheknew thatGGifthelawsuitwentpublichg(siclwouldbe                                                                                       I


                                                                                           ostracizedbythesocialclass& affluentcircleshegsiclhadworkedsohardtobe
                                                                                           allowed into and couldnotacceptthaf'.                                                                                                                            $

                                                                       36.The Decedentwasobsessed with being accepted intothewealthy,educated and or
I
I                                                                                          successfulclassesofpeoplewhom hehadinfiltratedwithoutha inganeducation,

                                                                                           successfulbusiness,orsignitk antw ealth to attain entry into the elite socialcircleshe

                                                                                           had becom ew elcom ed into.
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        37.Thisfearoflikely ostracization oftheDecedentifitbecnmepublicknowledgethathe

            engaged in anti-socialand illegalsexualactsinvolving children and dnlgged adults

            caused theDecedentto explain to Plaintiff1thathe Eswould notallow thosepeopleto    l
           treathimlikeanoutcastFhentheyarejustasbad,ifnotworse,tt
                                                                 hanheis.'
        38.ThçDecedentexplainedtothePlaintiffthathewouldberepegyçd
                                                                 )lyabusingher
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            alsoto exact.revengeakainstthewealthy andpiopinent pçopleV servicedthathe
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            fearedwouldquicklyttlm theiyhacksonhim ithehadbeenlpulzij
                                                                    cly suedforth4sex
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            traffickingandsexualassaultsagainstthéPlaintiffs'family.              .




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        39.Obbejsedwithmal   dngsurethathehadehbughevidenceofthecrl      iminalconduct,
           sexualabuse,sexualperversions& illicitbusiness dealings ofnum erousaffluentand

           prom inentassociatesfrom arotm d the w orld,theD ecedenttook gl
                                                                         reatcare in
            befriending,soliciting and engaging an extensive listofprom inent1peoplein his
            schem eto sexually abuse and exploitthePlaintiffs.
                                                                                           ;)
        40.Defendant#1,Donald Trtzmp Sr.,isone ofthe affluentand prof1ninentpersonswho
                                                                                          '
                                                                                          ;

            willfully paid the D ecedentand co-defendr ts/co-conspirators fantastic stlm sof
                                                                                                h
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            m oney to indulgein sexualactivity with Plaintiff1atthe358 E1Brillo W ay Palm
            Beach FL property when thePlaintiffw asstillaminorchild/younglteen.
        41.Plaintiff 1 was a m inor child underthe age of 18 atalltim es thatthe D efendant1

            com pleted the transactionsw ith the D ecedent& hisco-conspiratorsto sexually abuse
                                                                                                I
            Plaintiff 1.

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        42.Presented asatçchild prostitute''to Defendant1,Plaintiff1wâsdnzgged and abducted
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                                                                           '
               from herm other'shom eand transported acrossstatelinesin viî
                                                                          olation oftheM alm
               Actprohibitingtrafficking forthepup oseofprostitution orsexual
                                                                          ! activity tothe
               aforementionedprivateresidenceloéatedintheStateofFlorida!fortllissexualqssault
               maskçd asçhildprostitution.

        43.W hilechainedtoastpctureintheaforementipnedprôpertyanctpreseptedto
               Defendant1asachilctprostltuteconsentiùgto.use.torDefendAnt
                                                                        j1'ssexual'i'
                                                                                    nterçsts,     '




               èlaintiff1wasphysically andvloteptlyassaultedbyDetepdant1'.
        44..
           b'uringtheassault,thePlaintitf,wasditlggedto$hepointofbeing.
                                                            .
                                                                      unabletodefend
               herselffrom the abuse orcohsèntto anythingk                     /
        45 Defehdant1assaulted and abused Plaintiff1with openhanded't
           .                                                        Clapsto theface        ,
                                                                               i
               hittingPlaintiff1,aminorchild atthetim e,aboutthebody with open hands,violently

               punching heraboutthebody/face and sexually assaulting herincludingby violently

               twistingandstrikingthePlaintiff'sstilldevelopingbreastsinanl
                                                                          auempttopunish
               Plaintiff1andforcefullyçcwake''hertoperform sexactsforhimJ
        46.Defendant1assumedPlaintiff1wasonly in adrurlken orinebpated sttlporcaused by
               Plaintiff1Eswillftzlly over-indulging in dnzgsoralcoholservedpiior''totheprivate

               encotmter.

        à7 W hilesatisfyinghimselfwithsexually andphysicallyabusingPli
           .                                                         yintiff1whowas
               stillinchainsandtooincapacitatedby thedrugstheD ecedentandlhisco-conspirators
                                                                               ,


               hadinjectedherwithtodefendherself,Plaintiff1wasableto asklDefendant1Etwhy
               w ashe doing this?''throughoutthe assault.
                                                                               f




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                                                                      l
        48. Defendant1responded by explaining thathehad çGpaid Jeffreyt
                                                                      )good money forher
                                                                                               hk

                        Esic)andwouldgethismoneybackonewayoranotherl'';puncyz
                                                                           ïatingthestatement
                                                                                    t
                        with intermittentphysicalassaultsand sexualabuse aspreviously described.
                                                                                                l
        49 To recovermoniespaid tptheDecedçnt& hisco-conspiraforsinlthesex trafficking
                    !                            '

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                        operationandcriminalçntçrjrisetheyomhestratedfordetades,4
                                                                                Defendant1engagçd
                        in aform ofeconppictrrypriép théDecedçns& colçppspiratprj:/ço-dçfsnd/ntj

                        orchestratedtargetingthePtaintiffsforintellectualpiopertyandfmancial/invçsimeni
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                        advisingtheftsthatprovidedlucrativebùsinessdata''& 'pr
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            50.TheDefendaùtstargeting ùfthePlaintiffsto steal,m isappropriate'andm ake illegal
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                        useofbusinessdatatodefraud variousinvestorsandconsum ersbe
                                                                                 hcam e asystem àtic

                        step in the Defendantsintentto unlawfdlly ûtrecoverm oney paid7'forsex abuse
                                                                                                t
                        claimsandûttmsatisfactorf'sexualabuseexperieneesmasked ash
                                                                                 jprostitution                .


            51Specificclaim sregarding thetheftofbusinessdata,financial/inves
                    .
                                                                           ltm entadvising
                        servicesand intellectualproperty are required to be litigated in specitk venues
                        outsidetheStateofFloridadueto thenattlre ofthosecrimes& lal
                                                                                  wsviolated.
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                        PraverforRelief                                                        '

            52.PlaintiffsassertthattheD efendantsintentto dehumanize,retaliateagainstand exploit

                        the Plaintiffscaused greatfinancialand em otionalharm overthegolzrseofthree
                                                                                     t
                        decadesduring which the Defendantsengaged in thecriminalconduc
                                                                                     l ttargeting the

                        Plaintiffs;

            53. Plaintiffsbring suitto recoverequitablednmagesforthelong-term
                                                                            i emotionalhnrm

                        causedby thesex trafficking,derivative crim esofinterstate-stalking,etal.
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         54 Plaintiffsareseeldng dnmagesin excessoffifty million dollarsà
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                 from theDefendantswherethesale,proceedsfrom any sale orp'  k
                                                                            ossession ofthe real
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                 property described above isbeing dem anded aspartofthedam agessoughtby the

                 Plaintiffs.

         55.Plaintiff1hasfiled aNoticeofLisPendepswith thç Courtreg>rl
                                                                     dipg 358E1Brillo
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                    W ay,Pxlm Bçach FL.
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         56*Plaintiffi.
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            situatedat358ElBr)110W ay,Paim BeachFLwherethejropçrtylmaycontain
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                 evidençeofthe crimes;Plaintiff1aysertsdem olition isahigh dqll:rattymptto
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                    destroy evidenceofthecrim esand ùlaimsassetforth inthisStaf
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         57.Dispute with property includesclaimsthattheProperty wasboughtwith m onies                                  .




                    defraudedfrom thePlaintiffsorwith profitstheDefendants2,3,t& 4 collected
                    illegallyfromtheDecedent'sdecadeslongschemeofsexualabul        sew ith profitsfrom
                    affluentGEclients'to theDefendantssex trafficking operationsinc1
                                                                                   luding Defendant1.

      Ideclareunderpenaltyofperjury thateverythingIhavestated inthi
                                                                 ?sdocumentis
         true and correct.                                                                           r
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      Signedin'theCounty ofDallas,in theStateofTexas11/11/2020 12:54p/
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                                                                                                     Subm itt respectfully,
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                                                                                                         )Charlene .Latham
                                                                                                     4900AirportParkway
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Novem ber11,2020                                                                   1.

Attn:USD COURT SOUTHERN DISTRIU OFFLORIDA
AU N:CLERK'SOFFICE
701 CLEM ATISST
VVEST PALM BEACH FL33401


RE:Lathamls)v.DonaldTrumpSr.,1953Trust,RobertKahn,Darrenrndyke
   CourtAction:PlalntlffStatementoftheCasew/NoticeofLisPendens
DearCourt:
  Pl                                                                                   l
     ease allow thiscorrespondenceto explainthat 1,Charlene tctàlrrl
                                                                   ,oneofthe Plaintiffs, submittedtheenclosed
brief''PlaintiffStatementofThe Case''to ini
                                          tiatetheaction and obtaln acase number. Th#pendingformalcomplai   nt
willbe subm i tted separately.                                                        i
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Thankyouforyourattenti
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Sign       spectfully,

                                                                                        1
CharleneY.Latham

P:(469)751-5068
E.Charlenez7z@ hotmail.com

FiledinUSDistrictCourtofSouthernDistrid ofFlorida                                       l
11/11/2020 (submission)                                                                 ,
                 Case 9:20-cv-82157-WPD Document 1 Entered on FLSD Docket 11/24/2020
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                                LATHAM ,CHARLENE Y.,Plaintiff//1
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                                                                                                       ,
                                TraceyY.Latham,Plaintiff#z                           Casetype:civil-470/890/290
                                David G.Latham ,Plaintiff//3                         Judge:            t
                                                                                                       s
                                                                                     Case N o.:        '
                                V.

                                DonaldTrumpSr.,Defendant1                                  NOTIC: OF
                                1953 Trust,Defendant2;Estate ofJeffrey E.Epstein          LIS PENDENS
                                Darren Indyke,Defendant3
                                RobertKalm,Defendant4
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                                                                     LIS PEN DEN S

                                         NOTICE IS HEREBY GIVEN thattheforegoing action hasbeen comm enced and

                                       isnow processingintheUnited StatesDistrictCourtfortheSouthem DistrictofFlorida
                                      betweenthepartiesnamedabovefordamagesincludingpossession;oftherealproperty
                                      togetherwitha11itsbuildings,appurtenances,land and im proveh
                                                                                                 m eùts knom l as 358,
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                                      ElBrilloW ay,PALM BEACH,Floridaandrecorded as:

                                      LegalDescription'
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                                             Beinga11of1ot40andtheW est243 feetofLot39,ElB i
                                                                                .          .avo Park,asrecorded

                                             in PlatBook 9,Page9,in therecordsofPalm Beach County, Florida,and
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                                             BEING thatportion lying W est of Lot 40,El Bravoh Park, in section 27
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                                             T                                                      !
                                                 ownslnip 43 South,R ange 43 East,asrecorded in PlatB ook 9, Page 9,Public
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Case 9:20-cv-82157-WPD Document 1 Entered on FLSD Docket 11/24/2020 Page 14 of 14




                     RecordsofPalm Beach County,FloridabeingboundedontheW estbytheW est

                     side of an existing concrete seaw all and the northerly extension thereof as
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                     shown ontheAdair& Brady,lnc.,drawing 15-1298,dated M arch 25 1981,
                                                                          !               and
                     bounded on theEastby the shore line and shown ontheplatofE1Bravo Park

                     and bounded on theN orth and South by the W esterly el
                                                                          xtensionsoftheNorth,
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                     and South linesrespectively ofLot40,containing 0.07ycresgm ore orless.
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            THE PROPERTY CONTROL NUM BER IS 50-43-43-27-06-000-0391.
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                  Thecivilactionregardingownershipandpossessionof358klBrilloW ay,PALM
            BEACH Florida asrecorded with the County ofPalm Beach Fl
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            with the United StatesDistrictCourtClerk forthe Southel.
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            realpropeo togetherwith a11its buildings,appurtenances,la!nd and improvements,
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            thatisthesubjectofthisaction,isanassetincludedinthel
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                                                                1953Trtlstunderthe
            ownership of Laurellnc.,which is also property ofthe 1953 Trust.Al1parties are

            hereby given noticethis l1th day ofN ovember2020.



     Signed in theCountyofDallas,in theStateofTexas11/11/2020 2:25pp
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                                                                                   Charlene Y .Lat a
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